

Matter of Jonathan O. (2020 NY Slip Op 06864)





Matter of Jonathan O.


2020 NY Slip Op 06864


Decided on November 19, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 19, 2020

Before: Gische, J.P., Mazzarelli, Moulton, Mendez, JJ. 


Docket No. D-23271/18 Appeal No. 12431-12431A Case No. 2019-2605 

[*1]In the Matter of Jonathan O., a Person Alleged to be a Juvenile Delinquent, Appellant. Presentment Agency.


Law Offices of Randall S. Carmel, Jericho (Randall S. Carmel of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York&nbsp;(Cynthia Kao of counsel), for presentment agency.



Order of disposition, Family Court, Bronx County (Sidney Gribetz, J.), entered February 25, 2019, which adjudicated appellant a juvenile delinquent upon a fact-finding determination that he committed an act that, if committed by an adult, would constitute a crime, and placed him on probation for a period of 12 months, unanimously affirmed, without costs. Appeal from fact-finding order, same court and Judge, entered on or about February 1, 2019, unanimously dismissed, without costs, as subsumed in the appeal from the order of disposition.
The court's finding was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). "Issues of credibility, including the weight given to minor [*2]inconsistencies, were properly considered by the court, and there is no basis for disturbing its determinations" (Matter of Raheem D., 166 AD3d 489, 490 [1st Dept 2018]).
The court providently exercised its discretion in adjudicating appellant a juvenile delinquent and imposing a one-year period of probation, which was the least restrictive dispositional alternative consistent with appellant's needs and the community's need for protection (see Matter of Katherine W., 62 NY2d 947 [1984]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 19, 2020








